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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                                     )   Criminal No.
UNITED STATES OF AMERICA             )
                                     )   Violation:
          v.                         )
                                     )   Count One: Conspiracy To Commit Sex
JACLYN LEMELIN,                      )   Trafficking
                                     )   (18 U.S.C. § 1594(c))
                  Defendant          )
                                     )   Forfeiture Allegation:
                                     )   (18 U.S.C. § 1594(d))
                                     )

                               INFORMATION
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                                         COUNT ONE
                             Conspiracy to Commit Sex Trafficking
                                     (18 U.S.C. § 1594(c))

The United States Attorney charges:

       From at least in or about August 2018, and continuing thereafter through in or about

December 2018, in the District of Massachusetts and elsewhere, the defendant,

                                      JACLYN LEMELIN,

conspired with William Coleman and other persons known and unknown to the United States

Attorney, to knowingly recruit, entice, harbor, transport, provide, obtain, maintain, advertise, and

solicit by any means, various adult females, in and affecting interstate and foreign commerce,

knowing and in reckless disregard of the fact that means of force, threats of force, fraud, and

coercion, as defined in Title 18, United States Code, Section 1591(e)(2), and any combination of

such means, would be used to cause various adult females to engage in commercial sex acts, in

violation of Title 18, United States Code, Section 1591(a)(1).

       All in violation of Title 18, United States Code, Section 1594(c).




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                       SEX TRAFFICKING FORFEITURE ALLEGATION
                                  (18 U.S.C. § 1594(d))

        1.       Upon conviction of the offense in violation of 18 U.S.C. § 1594 as alleged in Count

One of this Information, the defendant,

                                        JACLYN LEMELIN,

shall forfeit to the United States, pursuant to 18 U.S.C. § 1594(d), (1) any property, real or personal,

that was involved in, used, or intended to be used to commit or to facilitate the commission of such

offense, and any property traceable to such property, and (2) any property, real or personal,

constituting or derived from, any proceeds obtained, directly or indirectly, as a result of such

offense, or any property traceable to such property.

        2.       If any of the property described in Paragraph 1 above, as a result of any act or

omission of the defendant:

                 a.     cannot be located upon the exercise of due diligence;

                 b.     has been transferred or sold to, or deposited with, a third party;

                 c.     has been placed beyond the jurisdiction of the court;

                 d.     has been substantially diminished in value; or

                 e.     has been commingled with other property which cannot be divided
                        without difficulty,

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

as incorporated by Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of the defendants up to the value of the property described in Paragraph 1 above.

        All pursuant to Title 18, United States Code, Section 1594.




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                                          ANDREW E. LELLING
                                          United States Attorney


                                   By:    /s/ Alex J. Grant
                                          ALEX J. GRANT
                                          Assistant U.S. Attorney


Dated: February 18, 2021




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